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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiff,            )
                                        )
          v.                            )         No. 4:06CR00739 ERW
                                        )
FRANK FELIX GONZALES,                   )
                                        )
                  Defendant.            )

                                   ORDER

      This matter comes before the Court on Motion to Continue

Trial Setting [doc. #11] by Defendant Frank Felix Gonzales. Counsel

for the Government has consented to this request and the Defendant

has agreed to file with this Court a signed waiver of his rights

under the Speedy Trial Act, 18 U.S.C. § 3161.

      Defendant is charged in a multi-count indictment charging

possession with the intent to distribute Schedule II Controlled

Substances.       Two co-defendants         remain at large and Defendant

Gonzales has been released on bond residing in California.                  Due to

the   multiple     jurisdictions       involved    and     the    likelihood     of

voluminous discovery, Defendant Gonzales seeks additional time to

file pretrial motions before the Magistrate Judge and a continuance

of the April 16, 2007 trial date.              Defendant has requested an

additional two months from the original trial setting. Defendant’s

request will be granted in part.

      This Court, upon careful consideration and on review of the

record,   finds    that   the   ends    of    justice     would   be   served    by
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continuing   the   trial     setting    to   May    21,    2007,   and    that   a

continuance of these proceedings outweighs the best interest of the

public and the Defendant in a speedy trial.               Furthermore, failure

to grant a continuance would deny counsel for the government and

defendant the reasonable time necessary for effective preparation,

taking into account the exercise of due diligence.                    The Court

concludes that a miscarriage of justice will result to Defendant

unless a continuance is granted because of time required to process

pretrial motions.

     Accordingly,

     IT IS HEREBY ORDERED that Motion to Continue Trial Date [doc.

#11] is GRANTED, in part.         Defendant Frank Feliz Gonzales shall

file with this Court a signed waiver of his rights under the Speedy

Trial Act, 18 U.S.C. § 3161, no later than February 20, 2007. Upon

receipt of the signed Waiver of Speedy Trial the April 16, 2007

trial date will be vacated and rest to May 21, 2007, at 8:30 a.m.



     So Ordered this 9th Day of February , 2007.



                                        ________________________________
                                        E. RICHARD WEBBER
                                        UNITED STATES DISTRICT JUDGE




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